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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA,              )
                                        )               Case No. 3:24-cv-00961
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 1ST SOURCE BANK,                       )
                                        )
          Defendant.                    )
 _______________________________________)

                                         COMPLAINT

        The United States of America, at the request of the Chief Counsel of the Internal Revenue

Service, a delegate of the Secretary of the Treasury, and at the direction of the Attorney General

of the United States pursuant to 26 U.S.C. § 7401, alleges as follows:

        1.     This is an action in which the plaintiff, the United States, pursuant to 26 U.S.C.

§ 6332(d), seeks to enforce an IRS levy served on 1st Source Bank due to its failure to honor that

proper and lawful levy by failing to surrender property to the United States.

                                Jurisdiction, Venue, and Parties

        2.     Jurisdiction over this action is conferred upon this Court by 28 U.S.C. §§ 1331,

1340, and 1345, and by 26 U.S.C. § 7402(a).

        3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because 1st Source

Bank’s principal place of business is located in St. Joseph County, Indiana, which is within this

District.

        4.     The defendant is 1st Source Bank, which is an Indiana entity with its principal

place of business in South Bend, Indiana.




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                                         Claim for Relief

        5.      The allegations set forth in paragraphs 1 through 4 are realleged and incorporated

by reference.

        6.      A delegate of the Secretary of the Treasury made assessments against Paul C.

Madison (the “taxpayer”) for income taxes for the 2007 tax year on October 1, 2018; for the

2008 and 2009 tax years on September 13, 2018; for the 2010 tax year on October 1, 2018; for

the 2011 tax year on September 24, 2018; and for the 2016 tax year on February 12, 2018. These

liabilities had a total balance due as of July 4, 2019, including any assessed and accrued late-

filing and late-payment penalties under 26 U.S.C. § 6651 or penalties for failure to make

estimate tax payments under 26 U.S.C. § 6654, costs, and statutory interest, and after applying

any abatements, payments, and credits, of $1,370,694.64.

        7.      On April 29, 2019, a delegate of the Secretary of the Treasury filed a Notice of

Federal Tax Lien in accordance with 26 U.S.C. § 6323(f) for the unpaid 2007 through 2011, and

2016 federal income tax liabilities of the taxpayer with the Berrien County, Michigan, Register

of Deeds. The taxpayer resided at 27 Preserve Way, New Buffalo, MI 49117, on the date that

this notice of tax lien was filed.

        8.      On June 4, 2019, a delegate of the Secretary of the Treasury, an IRS Revenue

Officer, issued IRS Form 668-A(ICS), “Notice of Levy,” to 1st Source Bank, the taxpayer’s

financial institution, using the listed address of P.O. Box 1602, South Bend, Indiana, 46634-

1602. The levy notice stated that the taxpayer was indebted to the United States for unpaid

federal income taxes for the 2007-2011 and 2016 tax years, in the total amount of $1,370,694.64,

and it required 1st Source Bank to turn over to the IRS all property and rights to property

belonging to the taxpayer, including money, credits, and bank deposits.



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       9.      On or about July 12, 2019, a representative of 1st Source Bank contacted the IRS

Revenue Officer in response to the levy and explained that the taxpayer maintained a $50,000.00

certificate of deposit account (the “CD account”) with 1st Source Bank, and that the account

secured a loan from 1st Source Bank to the taxpayer.

       10.     On July 19, 2019, the representative of 1st Source Bank faxed a copy of the

promissory note pertaining to 1st Source Bank’s loan to the taxpayer, and relayed 1st Source

Bank’s position that it had a perfected security interest in the CD account.

       11.     On August 9, 2019, the IRS Revenue Officer sent IRS Form 668-C, “Final

Demand for Payment” (the “Final Demand”) to 1st Source Bank at its South Bend, Indiana,

P.O. Box address, due to its failure to remit payment pursuant to the levy. The Final Demand

obligated 1st Source Bank to send the IRS payment, as explained in in original levy notice,

within 5 days of receipt of the Final Demand. It further explained that if 1st Source Bank did not

remit payment within that 5-day period, the IRS would consider 1st Source Bank to have refused

that demand, and that the IRS may take steps to enforce the levy pursuant to 26 U.S.C. § 6332.

       12.     On or about August 20, 2019, 1st Source Bank liquidated the CD account to

satisfy the outstanding balance of its loan to the taxpayer, leaving a balance in the CD account of

$14,056.55. The same day, 1st Source Bank sent the IRS a check for that $14,056.55 balance.

       13.     1st Source Bank did not commence a wrongful levy action under 26 U.S.C.

§ 7426 or the Treasury Regulations thereunder in regard to the levy made on June 4, 2019.

       14.     The United States, as plaintiff, is entitled to a judgment against the defendant

1st Source Bank in the amount equal to the value of property and rights to property not

surrendered, but not exceeding the balance due for the tax liabilities, together with costs and

interest, in accordance with 26 U.S.C. § 6332(d)(1).



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       15.      As of July 24, 2024, the unpaid portion of the IRS levy issued to 1st Source Bank

based upon the response of 1st Source Bank ($35,943.45, i.e., the $50,000.00 CD account

balance less the $14,056.55 remitted to the IRS on August 20, 2019), plus accrued statutory

interest, is $46,711.71.

       WHEREFORE, the plaintiff United States requests judgment that the defendant

1st Source Bank is liable to the United States:

       A.      In the amount of $46,711.71, plus statutory interest that continue to accrue from

and after July 24, 2024, pursuant to 26 U.S.C. § 6332(d)(1), or such other amounts allowable

under such statute; and,

       B.      For its costs in this action and such other and further relief as the Court deems just

and proper.

                                                         Respectfully submitted:

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                                                         Deputy Assistant Attorney General
                                                         Tax Division, U.S. Department of Justice

                                                         CLIFFORD D. JOHNSON
                                                         United States Attorney
                                                         Northern District of Indiana

                                                         /s/ Noah D. Glover-Ettrich
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